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12   Ltd., Headway Technologies, Inc., Magnecomp
     Corporation, SAE Magnetics (H.K.) Ltd., and
13   Hutchinson Technology Inc.

14

15                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
16                                SAN FRANCISCO DIVISION

17                                                            Case No.   19 MD 2918 (MMC)
18   In re: Hard Disk Drive Suspension Assemblies
                                                              DECLARATION OF
19   Antitrust Litigation                                     J. CLAYTON EVERETT, JR.
                                                              IN SUPPORT OF
20   THIS DOCUMENT RELATES TO ALL ACTIONS                     DEFENDANTS’ MOTION FOR
                                                              A SCHEDULING ORDER
21
                                                              Date:      December 4, 2020
22                                                            Time:      9:00 a.m.
                                                              Crtrm:     7, 19th Floor
23                                                            Before:    The Hon. Maxine M.
                                                                         Chesney
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                                                                       Case No. 19 MD 2918
        EVERETT DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR A SCHEDULING ORDER
                         Case 3:19-md-02918-MMC Document 280-1 Filed 10/21/20 Page 2 of 3



                     1          I, J. Clayton Everett, Jr., state and declare as follows:

                     2          1.      I am an attorney admitted to the District of Columbia Bar and admitted pro hac

                     3   vice in the above-captioned actions. I am a partner in the law firm of Morgan, Lewis & Bockius

                     4   LLP, and I am one of the attorneys responsible for the representation of Defendants TDK

                     5   Corporation, Magnecomp Precision Technology Public Co. Ltd., Headway Technologies, Inc.,

                     6   Magnecomp Corporation, SAE Magnetics (H.K.) Ltd., and Hutchinson Technology Inc.

                     7   (collectively, “TDK”) in these actions. The following facts are within my personal knowledge

                     8   and, if called and sworn as a witness, I could and would testify competently to these facts.

                     9          2.      I submit this declaration in support of Defendants’ Motion for a Scheduling Order

                    10   in In re: Hard Disk Drive Suspension Assemblies Antitrust Litigation, Case No. 19-md-02918

                    11   (N.D. California) and Seagate Technology LLC, et al. v. Headway Technologies, Inc., et al., Case

                    12   No. 3:20-cv-01217 (N.D. California).

                    13          3.      On August 3, 2020, Seagate Plaintiffs, End-User Plaintiffs, and Reseller Plaintiffs

                    14   (collectively, “Plaintiffs”) served the following discovery requests on Defendants:

                    15                  a. Plaintiffs’ First Joint Set of Requests for Production of Documents to

                    16                      Defendants dated August 3, 2020, a true and correct copy of which is attached

                    17                      as Exhibit 1;

                    18                  b. Reseller Plaintiffs’ First Set of Interrogatories to Defendants dated August 3,

                    19                      2020, a true and correct copy of which is attached as Exhibit 2;

                    20                  c. End-User Plaintiffs’ First Set of Interrogatories to Defendants dated August 3,

                    21                      2020, a true and correct copy of which is attached as Exhibit 3; and

                    22                  d. Seagate’s First Set of Interrogatories to Defendants dated August 3, 2020, a

                    23                      true and correct copy of which is attached as Exhibit 4.

                    24                      (collectively, “Discovery Requests”).

                    25          4.      On August 28, 2020, counsel for TDK sought Plaintiffs’ consent to phase

                    26   discovery to focus first on issues necessary to determine whether Plaintiffs’ claims are barred by

                    27   the FTAIA.

                    28          5.      On September 2, 2020, Defendants served their responses and objections to
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                     Case No. 3:16-cv-06385-WHA
                            EVERETT DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR A SCHEDULING ORDER
     Case 3:19-md-02918-MMC Document 280-1 Filed 10/21/20 Page 3 of 3



 1   Plaintiffs’ Discovery Requests. Defendants objected, in part, that responses to certain discovery

 2   requests were premature and should be provided only after the extraterritoriality issue is resolved.

 3          6.      On September 29, 2020, each of the Plaintiffs advised that they do not consent to

 4   any phasing of discovery.

 5          7.      On October 1, 2020, Plaintiffs served the following requests for admission on

 6   Defendants:

 7                  a. Plaintiffs’ First Joint Set of Requests for Admission to TDK dated October 1,

 8                      2020, a true and correct copy of which is attached as Exhibit 5; and

 9                  b. Plaintiffs’ First Joint Set of Requests for Admission to NHK dated October 1,

10                      2020, a true and correct copy of which is attached as Exhibit 6.

11          I declare under penalty of perjury under the laws of the United States of America that the

12   foregoing is true and correct to the best of my knowledge and that this declaration was executed

13   by me in Washington, D.C. on October 21, 2020.

14                                                       /s/ J. Clayton Everett, Jr.

15                                                       J. Clayton Everett, Jr.
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                                             2                         Case No. 19 MD 2918
        EVERETT DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR A SCHEDULING ORDER
